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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


   UNITED STATES OF AMERICA
                                                Criminal Action No.
         V.


                                                1:19-CR-000184-MHC-JSA
   JIM C. BECK


                  Government's Motion for Dismissal of Counts

   In light of testimony presented during the trial of the above-styled case about

the physical whereabouts of a specific witness during a particular time period, the

government moves for dismissal of Counts 5, 9,10,12, 34, and 35 of the

Superseding Indictment, filed August 14, 2019, charging violations of 18 U.S.C.

Section 1343 (Counts 5, 9, 10, and 12) and 18 U.S.C. Section 1957 (Counts 34 and 35)

and seeks an order of the same from this Court.


                                         Respectfully submitted,


                                         KURT^. ERSKINE
                                              ^ti^ig United S^tes, Attorney

                                            '.^. (- I'
                                    By: ^rei^Aian Gray
                                            Assistant United States Attorney
                                         Georgia Bar No. 155089
                                         Brent, gray @us doj. go v


                                        Order
               ^r.
   On this «/ / ^^day of July, 2021, upon motion of the United States Attorney,
leave to file the above-dismissal is granted on such terms as are contained in the
Government s motion.



                                      MARK H. COHEN
                                      UNITED STATES DISTRICT JUDGE
